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                          EXHIBIT A
                Case 1:15-cv-00842-RGA Document 34-1 Filed 05/17/16 Page 2 of 102 PageID #: 373
        AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                               UNITED STATES DISTRICT COURT
                                                                                    for the
                                                                     District
                                                               __________     of Delaware
                                                                           District of __________
                              ChanBond, LLC
                                                                                       )
                                       Plaintiff                                       )
    Atlantic Broadband Group, LLC, Bright House Networks, LLC, Cable One Inc.,                                      C.A. Nos.15-842; 15-843; 15-844;
                                          v. Cequel Communications, LLC, Cequel
Cablevision Systems Corp., CSC Holdings, LLC,                                          )      Civil Action No.      15-845; 15-846; 15-847; 15-848;
     Communications Holdings I, LLC d/b/a Suddenlink Communications, Charter           )                            15-849; 15-850; 15-851; 15-852;
  Communications, Inc., Comcast Corp., Comcast Cable Communications, LLC, Cox
Communications, Inc., Mediacom Communications Corp., RCN Telecom Services, LLC,        )                            15-853; 15-854 (RGA)
Time Warner Cable Inc., Time Warner Cable  Enterprises LLC, WaveDivision Holdings,
                                      Defendant                                        )
                      LLC, and WideOpen West Finance, LLC

                                     SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

         To:                                  UnifiedOnline, Inc., 4126 Leonard Drive, Fairfax, VA 22030
                        c/o John Petrsoric, Michson De Raya New York LLP, 2 Park Avenue, 20th Floor, New York, NY 10016
                                                               (Name of person to whom this subpoena is directed)

               ✔
               u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
        deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
        or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
        those set forth in an attachment:
        See Attachment B


          Place: Winston & Strawn LLP                                                          Date and Time:
                   1700 K Street, N.W.
                                                                                                           June 28, 2016 at 9:00 am
                   Washington, D.C. 20006

                   The deposition will be recorded by this method:                    audio-visual and stenographic means

               u Production: You, or your representatives, must also bring with you to the deposition the following documents,
                 electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
                 material:




               The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
        Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
        respond to this subpoena and the potential consequences of not doing so.

        Date:        05/17/2016
                                           CLERK OF COURT
                                                                                                 OR
                                                                                                                        /s/ Anup K. Misra
                                                   Signature of Clerk or Deputy Clerk                                   Attorney’s signature

        The name, address, e-mail address, and telephone number of the attorney representing (name of party)
        all defendants                                                          , who issues or requests this subpoena, are:
    Anup K. Misra, Winston & Strawn LLP, 200 Park Avenue, New York, NY 10166; (212) 294-6697, amisra@winston.com
                                        Notice to the person who issues or requests this subpoena
        If this subpoena commands the production of documents, electronically stored information, or tangible things before
        trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
        whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.        C.A. Nos.15-842; 15-843; 15-844; 15-845; 15-846; 15-847; 15-848; 15-849; 15-850; 15-851; 15-852; 15-853; 15-854 (RGA)



                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                        on (date)                          ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                          for services, for a total of $               0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server’s signature



                                                                                              Printed name and title




                                                                                                 Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                        ATTACHMENT B

        Pursuant to Federal Rule of Civil Procedure 45(B), the deposition will be recorded by

 stenographic, audio, video, and/or real-time transcription (e.g. LiveNote) means.               The

 examination will be taken for the purposes of discovery, for use at trial in this action, and for any

 purposes permitted under the Federal Rules of Civil Procedure.

                                          DEFINITIONS

        1.      “UnifiedOnline,” “You,” or “Yours” mean UnifiedOnline, Inc., and any and all

 predecessors, successors, divisions, subsidiaries, or joint ventures thereof, together with any and

 all parent or affiliated companies or corporations, and all past or present members, shareholders,

 officers, directors, employees, agents, attorneys, representatives, any past or current investors or

 persons with an interest in UnifiedOnline, Inc., and all other persons acting or purporting to act

 or that have acted or purported to have acted on behalf of any of the foregoing.

        2.      “CBV” means CBV, Inc., and any and all predecessors, successors, divisions,

 subsidiaries, or joint ventures thereof, together with any and all parent or affiliated companies or

 corporations, and all past or present members, shareholders, officers, directors, employees,

 agents, attorneys, representatives, any past or current investors or persons with an interest in

 CBV, Inc., and all other persons acting or purporting to act or that have acted or purported to

 have acted on behalf of any of the foregoing.

        3.      The term “Z-Band” means Z-Band, Inc., and any and all predecessors, successors,

 divisions, subsidiaries, or joint ventures thereof, together with any and all parent or affiliated

 companies or corporations, and all past or present members, shareholders, officers, directors,

 employees, agents, attorneys, representatives, any past or current investors or persons with an




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 interest in Z-Band, Inc., and all other persons acting or purporting to act or that have acted or

 purported to have acted on behalf of any of the foregoing.

        4.      The term “Chanbond,” means ChanBond, LLC, and any and all predecessors,

 successors, divisions, subsidiaries, or joint ventures thereof, together with any and all parent or

 affiliated companies or corporations, including at least CBV and Z-Band, and all past or present

 members, shareholders, officers, directors, employees, agents, attorneys, representatives, any

 past or current investors or persons with an interest in Chanbond, LLC, the Asserted Patents, or

 the Related Patents, including at least UnifiedOnline, and all other persons acting or purporting

 to act or that have acted or purported to have acted on behalf of any of the foregoing.

        5.      The term “Whitaker Corp.” means The Whitaker Corporation, and any and all

 predecessors, successors, divisions, subsidiaries, or joint ventures thereof, together with any and

 all parent or affiliated companies or corporations, and all past or present members, shareholders,

 officers, directors, employees, agents, attorneys, representatives, any past or current investors or

 persons with an interest in The Whitaker Corporation, and all other persons acting or purporting

 to act or that have acted or purported to have acted on behalf of any of the foregoing.

        6.      The terms “Chanbond Patents,” mean U.S. Patent Nos. 7,346,918, 7,941,822,

 8,341,679, 8,984,565, and 9,015,774, including any application that led to issuance of any of the

 aforementioned patents, or any reexaminations thereof.

        7.      The term “Related Patents” means any and all patents that relate back to a

 common application as any Chanbond Patent or Whitaker Patent, including any provisional or

 non-provisional applications, continuations, continuations-in-part, divisions, interferences,

 reexaminations, reissues, parents, foreign counterpart applications, as well as any other

 applications disclosing, describing or claiming any invention disclosed, described or claimed in




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 any Chanbond Patent or Whitaker Patent, or claiming the benefit of the filing date of any

 application whose benefit is claimed in any Chanbond Patent or Whitaker Patent, whether or not

 abandoned and whether or not issued.

        8.      The “Chanbond Inventors” means the named inventors listed on the face of the

 Chanbond Patents. This includes Earl Hennenhoefer, Richard Snyder, Robert Stine.

        9.      “Whitaker Patents” means U.S. Patent No. 5,901,340 and U.S. Patent No.

 5,875,386, including any application that led to issuance of any of the aforementioned patents, or

 any reexaminations thereof.

        10.     “Whitaker Inventors” mean Steven Lee Flickinger, James Ray Fetterolf, Sr.,

 Joseph P. Preschutti, Terry P. Bowen, Jeffrey Legg, and David Koller.

        11.     The term “Instant Litigations” means the litigations initiated by Chanbond

 currently pending in the District of Delaware against each of the Defendants. To resolve any

 doubt, these include case numbers 1:15-cv-00842-RGA through 1:15-cv-00854-RGA.

        12.     The term “Channel Bonding” shall have the same meaning as used by Chanbond

 in Chanbond’s complaints in this matter, and in Chanbond’s infringement contentions in this

 matter. See, e.g., 1:15-cv-00842, D.I. 1 (Complaint) at ¶ 13.

        13.     The “DOCSIS Standard” shall mean the Data Over Cable Service Interface

 Specification published by CableLabs. To resolve any doubt, this term encompasses all versions

 of the DOCSIS Standard, including DOCSIS 1.0, DOCSIS 1.1, DOCSIS 2.0, DOCSIS 3.0, and

 DOCSIS 3.1.

        14.     The “DOCSIS 3.0 Standard” shall mean the Data Over Cable Service Interface

 Specification published by CableLabs




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        15.     The term “Standard Setting Organization” means any organization responsible for

 developing technical standards or technical documentation for use in industry. For avoidance of

 doubt, CableLabs, the Institute for Electrical and Electronics Engineers (“IEEE”),

 Telecommunications Industry Association (“TIA”), and Electronic Industries Alliance (“EIA”)

 are all Standard Setting Organizations.

        16.     The term “Prior Art” refers to art under 35 U.S.C. §§ 102 and 103 and includes,

 by way of example and without limitation, printed publications, patents, disclosures, prior

 inventions, admissions, prior public uses, prior offers for sale, or sales of actual products.

        17.     The terms “concerning,” “relate,” “relating,” or “related” mean in any way,

 directly or indirectly, in whole or part, relating to, concerning, alluding to, referring to,

 discussing, mentioning, regarding, pertaining to, describing, reflecting, containing, analyzing,

 studying, reporting on, commenting on, evidencing, constituting, setting forth, considering,

 recommending, modifying, amending, confirming, endorsing, representing, supporting,

 qualifying, terminating, revoking, refuting, undermining, canceling, contradicting, or negating.

        18.     The term “document” shall have the broadest meaning possible under the Federal

 Rules of Civil Procedure and shall include, but not be limited to, the original (or a copy when the

 original is not available) and each non-identical copy (including those which are non-identical by

 reason of translations, notations, or markings) or any and all other written, printed, typed,

 punched, taped, filmed, or graphic matter or recorded or tangible thing, or whatever description,

 however produced or reproduced (including computer-stored or generated data, together with

 instructions or programs necessary to search and retrieve such data and hard copies where

 available and retrievable), and shall include all attachments to and enclosures with any requested

 item to which they are attached or with which they are enclosed, and each draft thereof. The




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 term “document” shall specifically include all recorded or retrievable electronic data or

 communications such as electronic mail (e-mail) and the like and all translations thereof.

        a.      “Communication” shall mean any oral, written, electronic, or other exchange of

                words, thoughts, information, or ideas to another person or entity, whether in

                person, in a group, by telephone, by letter, by Telex, or by other process, electric,

                electronic, or otherwise.    All such communications in writing shall include,

                without limitation, printed, typed, handwritten, or other readable documents,

                correspondence, memoranda, reports, contracts, drafts (both initial and

                subsequent), computer discs or transmissions, e-mails, instant messages, tape or

                video recordings, voicemails, diaries, log books, minutes, notes, studies, surveys

                and forecasts, and any and all copies thereof.

        b.      The words “or,” “and,” “all,” “every,” “any,” “each,” “one or more,” “including,”

                and similar words of guidance, are intended merely as such, and should not be

                construed as words of limitation. The words “or” and “and” shall include each

                other whenever possible to expand, not restrict, the scope of the request. The

                word “including” shall not be used to limit any general category or description

                that precedes it. The words “all,” “every,” “any,” “each,” and “one or more” shall

                include each other whenever possible to expand, not restrict, the scope of the

                request.

        c.      Reference to the singular in any of these requests shall also include a reference to

                the plural, and reference to the plural also shall include a reference to the singular.




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                                       DEPOSITION TOPICS

        1.      The technology disclosed and claimed in the Chanbond Patents, Whitaker Patent,

 or Related Patents.

        2.      The terms, nature, and scope of the agreement between Chanbond and

 UnifiedOnline, attached as Ex. 2 to this Subpoena.

        3.      The nature and purpose of any discussions from UnifiedOnline’s meetings

 concerning the agreement between Chanbond and UnifiedOnline, attached as Ex. 2 to this

 subpoena.

        4.      The nature and purpose of any negotiations between Unified Online and

 Chanbond.

        5.      Any valuations of Chanbond.

        6.      The nature and purpose of communications between UnifiedOnline and any of the

 following parties:

                (i)      Z-Band;

                (ii)     any Chanbond Inventor;

                (iii)    Whitaker Corp.;

                (iv)     any Whitaker Inventor;

                (v)      C.W. Smith;

                (vi)     any business associate of the Chanbond Inventors that communicated with

                         any Defendant (see, e.g., Ex. 1 at ¶ 28);

                (vii)    any Defendant; or

                (viii)   Bentham IMF.




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        7.      The terms, nature, and scope of any negotiations or agreements between CBV or

 any Chanbond Inventor and any of the following parties:

                (i)      Z-Band;

                (ii)     any Chanbond Inventor;

                (iii)    Whitaker Corp.;

                (iv)     any Whitaker Inventor;

                (v)      C.W. Smith;

                (vi)     any business associate of the Chanbond Inventors that communicated with

                         any Defendant (see, e.g., Ex. 1 at ¶ 28);

                (vii)    any Defendant; or

                (viii)   Bentham IMF.

        8.      UnifiedOnline’s decision to purchase Chanbond.

        9.      Any interest held by UnifiedOnline, in either (a) the Instant Litigations, (b) the

 Chanbond Patents, (c) Chanbond, (d) Whitaker, or (e) the Whitaker Patents.

        10.     The acquisition, ownership, or assignment of any Chanbond Patent, Whitaker

 Patent, or Related Patent.

        11.     Any valuation of any Chanbond Patent, Whitaker Patent, or Related Patent.

        12.     The terms, nature and scope of any agreement related to any Chanbond Patent,

 Whitaker Patent, and/or Related Patent.

        13.     The terms, nature, and scope of any negotiations for any assignment, license,

 contract, covenant, authorization, agreement, stipulation, settlement or any other event relating to

 any legal right related to any Chanbond Patent, Whitaker Patent, and/or Related Patent.




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        14.     Any participation by UnifiedOnline in any Standard Setting Organization,

 industry organization, or trade group.

        15.     Any of UnifiedOnline’s meetings where any of the Defendant’s products,

 services, apparatuses, devices, systems, method or processes related to Channel Bonding, the

 DOCSIS Standard, or DOCSIS 3.0 were mentioned or discussed.

        16.     Any Prior Art to any Chanbond Patents known to UnifiedOnline and the date and

 circumstances pursuant to which UnifiedOnline first learned of each piece of Prior Art.

        17.     The relationship between UnifiedOnline and Chanbond.

        18.     Chanbond’s sale assignment, transfer, lease or license of any of their rights,

 assets, facilities, operations or services to UnifiedOnline.

        19.     Financial information, including, but not limited to, revenue or profits, derived

 from the sale or license of any product embodying any technical matter disclosed in, or any

 invention claimed in, any Chanbond Patent, Whitaker Patent, or Related Patent.

        20.     Any investigations, tests, studies, examinations, or analyses conducted by

 UnifiedOnline of any Defendant’s products, services, apparatuses, devices, systems, methods, or

 processes that allegedly infringe any claim of the Chanbond Patents, the Whitaker Patents, or

 Related Patents.

        21.     UnifiedOnline’s employee list and organizational structure.

        22.     Persons or entities with an ownership interest in UnifiedOnline.

        23.     The terms, nature, and scope of any agreement entered into by UnifiedOnline

 regarding the financing of UnifiedOnline’s purchase of Chanbond, as discussed in Ex. 2 to this

 Subpoena.




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                         EXHIBIT 1
CaseCase
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                 )
  CHANBOND, LLC,                                 )
                                                 )
                 Plaintiff,                      )
                                                 )
         v.                                      )     C.A. No. ___________________
                                                 )
  COMCAST CORPORATION and                        )     TRIAL BY JURY DEMANDED
  COMCAST CABLE                                  )
  COMMUNICATIONS, LLC,                           )
                                                 )
                  Defendants.                    )
                                                 )

                        COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff ChanBond, LLC (“ChanBond”), as for its complaint of patent infringement in

 this matter, hereby alleges through its attorneys as follows:

                                        Nature of the Action

        This is an action for patent infringement of United States Patent Nos. 7,941,822 (the

 “’822 Patent”), 8,341,679 (the “’679 Patent”) and 8,984,565 (the “’565 Patent”) (collectively, the

 Patents) under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., seeking damages and

 injunctive and other relief under 35 U.S.C. § 281, et seq.

                                             The Parties

        1.      Plaintiff ChanBond is a Delaware limited liability company with its principal

 place of business at 2633 McKinney Ave., Dallas, Texas 75204.

        2.      Defendant Comcast Corporation (“Comcast Corp.”) is a Pennsylvania corporation

 with its principal place of business at 1701 John F Kennedy Boulevard, Philadelphia,

 Pennsylvania 19103. Comcast Corp. may be served with process pursuant to the Delaware long

 arm statute, 10 Del. C. § 3104.
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        3.      Defendant Comcast Cable Communications, LLC (“Comcast Cable”) is a

 Delaware limited liability company with its principal place of business at 1701 John F Kennedy

 Boulevard, Philadelphia, Pennsylvania 19103. On information and belief, Comcast Cable is a

 wholly owned, direct or indirect subsidiary of Comcast Corp. Comcast Cable may be served

 with process via its registered agent, Comcast Capital Corporation, 1201 North Market Street,

 Suite 1000, Wilmington, Delaware 19801.

        4.      Comcast Corp. and Comcast Cable are referred to herein, collectively, as

 “Comcast” or “defendants.”

                                       Jurisdiction and Venue

        5.      This is an action for patent infringement arising under the Patent Laws of the

 United States, Title 35 of the United States Code.

        6.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

 §§ 1331 and 1338(a) because the action concerns the infringement of United States patents.

        7.      This court has personal jurisdiction over defendants. Upon information and

 belief, each defendant transacts substantial business in the State of Delaware, directly or through

 intermediaries, including: (i) at least a portion of the infringements alleged herein, and (ii)

 regularly does or solicits business in Delaware, engages in other persistent courses of conduct,

 maintains continuous and systematic contacts in Delaware, purposefully avails itself of the

 privileges of doing business in Delaware, and/or derives substantial revenue from goods and

 services provided to individuals in Delaware. In addition, Comcast Cable is a limited liability

 corporation organized and existing under the laws of the State of Delaware.




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        8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) because,

 among other reasons, defendants have transacted business in the State of Delaware and

 defendants have committed and continue to commit acts of patent infringement in Delaware.

                                        The Patents-In-Suit

        9.      On May 10, 2011, the United States Patent and Trademark Office duly and legally

 issued the ’822 Patent, entitled “Intelligent Device System and Method for Distribution of Digital

 Signals on a Wideband Signal Distribution System,” to its inventors, Earl Hennenhoefer, Richard

 Snyder and Robert Stine. The inventors assigned all rights in the ’822 Patent to CBV, Inc.

 (“CBV”), which was founded by the inventors, and CBV assigned the ’822 Patent to ChanBond,

 including all rights to enforce the ’822 Patent and to recover for infringement. ChanBond has all

 right, title and interest to the ’822 Patent. The ’822 Patent is valid and in force. A true and

 correct copy of the ’822 Patent is attached hereto as Exhibit A.

        10.     On December 25, 2012, the United States Patent and Trademark Office duly and

 legally issued the ’679 Patent, entitled “Intelligent Device System and Method for Distribution of

 Digital Signals on a Wideband Signal Distribution System,” to its inventors, Earl Hennenhoefer,

 Richard Snyder and Robert Stine. The inventors assigned all rights in the ’679 Patent to CBV,

 which was founded by the inventors, and CBV assigned the ’679 Patent to ChanBond, including

 all rights to enforce the ’679 Patent and to recover for infringement. ChanBond has all right, title

 and interest to the ’679 Patent. The ’679 Patent is valid and in force. A true and correct copy of

 the ’679 Patent is attached hereto as Exhibit B.

        11.     On March 17, 2015, the United States Patent and Trademark Office duly and

 legally issued the ’565 Patent, entitled “Intelligent Device System and Method for Distribution of

 Digital Signals on a Wideband Signal Distribution System,” to its inventors, Earl Hennenhoefer,




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 Richard Snyder and Robert Stine. The inventors assigned all rights in the ’565 Patent to CBV,

 which was founded by the inventors, and CBV assigned the ’565 Patent to ChanBond, including

 all rights to enforce the ’565 Patent and to recover for infringement. ChanBond has all right, title

 and interest to the ’565 Patent. The ’565 Patent is valid and in force. A true and correct copy of

 the ’565 Patent is attached hereto as Exhibit C.

         12.     Generally, the patents-in-suit are directed in improving the data transmission of

 wideband distribution systems. Historically, data service flows (e.g. data, web traffic, voice and

 video transmitted via the Internet Protocol) have been transmitted over a single channel at a fixed

 bandwidth. But with the demand for transmission of more and more content at ever increasing

 speeds, the capabilities of a single channel transmission methodology became exhausted.

         13.     The patents-in-suit address and overcome, among other things, the throughput

 problems regarding this single channel methodology. The inventors of the patents-in-suit

 invented intelligent devices that allow a single data service flow (e.g. large data transmissions) to

 be split and modulated onto multiple channels for transmission. This transmission is then

 demodulated and recombined back into a single service flow for distribution to addressable

 devices. Using the inventions, service providers are now capable of efficiently transmitting more

 content at higher speeds and better quality of service.

                                       COUNT I
                           (INFRINGEMENT OF THE ’822 PATENT)

         14.     Plaintiff incorporates paragraphs 1 through 13 herein by reference as if set forth

 here in full.

         15.     Upon information and belief, Comcast has been and is currently directly

 infringing, literally or under the doctrine of equivalents, one or more claims of the ’822 Patent by

 making, using, testing, offering to sell, and/or selling within the United States, and/or importing



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 into the United States, without authority, cable systems and cable services that are covered by at

 least one claim of the ’822 Patent. The accused cable systems include cable system components

 such as cable modem termination systems, RF transmission hardware, network monitoring

 equipment and customer premises equipment (e.g., cable modems, embedded multimedia

 terminal adapters, and set-top boxes), including but not limited to components that are compliant

 with the Data Over Cable System Interface Specification (“DOCSIS”) standard, version 3.0 or

 higher.1 More particularly, Comcast, without authority from Plaintiff, provides, operates,

 implements, sells, markets, imports and/or offers for sale cable systems and/or cable services that

 perform, are capable of performing or are provided having channel bonding functionality,

 including but not limited to cable systems and components that have the capability to distribute a

 service flow over multiple, bonded channels and/or the capability to receive a service flow over

 multiple, bonded channels (the “Accused Functionality”). Comcast’s cable systems and

 components that perform or are capable of performing the Accused Functionality, and/or the use

 of such cable systems and components, infringe one or more claims of the ’822 Patent under 35

 U.S.C. § 271.

        16.      As a result of Comcast’s unlawful infringement of the ’822 Patent, Plaintiff has

 suffered and will continue to suffer damages in an amount to be proven at trial. Plaintiff is

 entitled to recover from Comcast the damages adequate to compensate for such infringement,

 which have yet to be determined.

        17.      Comcast will continue to infringe the ’822 Patent unless and until it is enjoined by

 this Court.


 1
  See, e.g., http://customer.xfinity.com/help-and-support/internet/docsis3/?ts=2 (“With DOCSIS
 3.0, you’ll experience significantly faster speeds, so you can make the most of your online
 experience. DOCSIS 3.0 also opens the door to new Internet technologies.”)


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                                      COUNT II
                           (INFRINGEMENT OF THE ’679 PATENT)

         18.     Plaintiff incorporates paragraphs 1 through 17 herein by reference as if set forth

 here in full.

         19.     Upon information and belief, Comcast has been and is currently directly

 infringing, literally or under the doctrine of equivalents, one or more claims of the ’679 Patent by

 making, using, testing, offering to sell, and/or selling within the United States, and/or importing

 into the United States, without authority, cable systems and cable services that are covered by at

 least one claim of the ’679 Patent. The accused cable systems include cable system components

 such as cable modem termination systems, RF transmission hardware, network monitoring

 equipment and customer premises equipment (e.g., cable modems, embedded multimedia

 terminal adapters, and set-top boxes), including but not limited to components that are compliant

 with the DOCSIS standard, version 3.0 or higher. More particularly, Comcast, without authority

 from Plaintiff, provides, operates, implements, sells, markets, imports and/or offers for sale cable

 systems and/or cable services that perform, are capable of performing or are provided having

 channel bonding functionality, including but not limited to cable systems and components that

 have the capability to distribute a service flow over multiple, bonded channels and/or the

 capability to receive a service flow over multiple, bonded channels (the “Accused

 Functionality”). Comcast’s cable systems and components that perform or are capable of

 performing the Accused Functionality, and/or the use of such cable systems and components,

 infringe one or more claims of the ’679 Patent under 35 U.S.C. § 271.

         20.     As a result of Comcast’s unlawful infringement of the ’679 Patent, Plaintiff has

 suffered and will continue to suffer damages in an amount to be proven at trial. Plaintiff is




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 entitled to recover from Comcast the damages adequate to compensate for such infringement,

 which have yet to be determined.

         21.     Comcast will continue to infringe the ’679 Patent unless and until it is enjoined by

 this Court.

                                      COUNT III
                           (INFRINGEMENT OF THE ’565 PATENT)

         22.     Plaintiff incorporates paragraphs 1 through 21 herein by reference as if set forth

 here in full.

         23.     Upon information and belief, Comcast has been and is currently directly

 infringing, literally or under the doctrine of equivalents, one or more claims of the ’565 Patent by

 making, using, testing, offering to sell, and/or selling within the United States, and/or importing

 into the United States, without authority, cable systems and cable services that are covered by at

 least one claim of the ’565 Patent. The accused cable systems include cable system components

 such as cable modem termination systems, RF transmission hardware, network monitoring

 equipment and customer premises equipment (e.g., cable modems, embedded multimedia

 terminal adapters, and set-top boxes), including but not limited to components that are compliant

 with the DOCSIS standard, version 3.0 or higher. More particularly, Comcast, without authority

 from Plaintiff, provides, operates, implements, sells, markets, imports and/or offers for sale cable

 systems and/or cable services that perform, are capable of performing or are provided having

 channel bonding functionality, including but not limited to cable systems and components that

 have the capability to distribute a service flow over multiple, bonded channels and/or the

 capability to receive a service flow over multiple, bonded channels (the “Accused

 Functionality”). Comcast’s cable systems and components that perform or are capable of




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 performing the Accused Functionality, and/or the use of such cable systems and components,

 infringe one or more claims of the ’565 Patent under 35 U.S.C. § 271.

         24.      As a result of Comcast’s unlawful infringement of the ’565 Patent, Plaintiff has

 suffered and will continue to suffer damages in an amount to be proven at trial. Plaintiff is

 entitled to recover from Comcast the damages adequate to compensate for such infringement,

 which have yet to be determined.

         25.      Comcast will continue to infringe the ’565 Patent unless and until it is enjoined by

 this Court.

               WILLFUL INFRINGEMENT OF THE ’822, ’679, and ’565 PATENTS

         26.      Plaintiff incorporates paragraphs 1 through 25 herein by reference as if set forth

 here in full.

         27.      In January 2012, Comcast announced that it had completed its rollout of DOCSIS

 3.0.

         28.      In February 2012, a business associate of the inventors communicated with Mr.

 Joseph DiTrolio, Comcast Vice President and Corporate Comptroller, regarding the patent

 portfolio. On February 23, 2012, the business associate had a face-to-face meeting with Mr.

 DiTrolio, wherein he provided a write-up that identified the ’822 Patent and the application that

 would issue as the ’679 Patent, and that indicated other continuations were pending. The write-

 up described the patents and applications and their applicability to DOCSIS 3.0 and the cable

 industry’s channel bonding technology. The business associate and Mr. DiTrolio discussed the

 patents, patent applications, relevant technology, and the patents’ and patent applications’

 applicability to the cable industry’s channel bonding technology. By February 23, 2012, Mr.

 DiTrolio, and thus Comcast, knew of the at least the ’822 Patent and the application that would




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 issue as the ’679 Patent, and knew of their relevance to the DOCSIS 3.0 channel bonding

 technology used by Comcast.

        29.      By February 27, 2012, Mr. DiTrolio had communicated the patent portfolio and

 the write-up to Mr. James Finnegan, Comcast Senior Vice President, Intellectual Property

 Strategy. On information and belief, by February 27, 2012, Mr. Finnegan knew of the ’822

 Patent and the applications that would issue as the ’679 and ’565 Patents, and knew of their

 relevance to the DOCSIS 3.0 channel bonding technology used by Comcast.

        30.      On March 28, 2012, Mr. Hennenhoefer (one of the co-inventors) had a

 teleconference with Mr. Finnegan during which the patents, applications and CBV were

 discussed. Mr. Finnegan informed Mr. Hennenhoefer that Comcast was obtaining a legal

 opinion regarding the patents. Shortly thereafter, Mr. Hennenhoefer had a follow-up call with

 Mr. Finnegan.

        31.      On February 12, 2013, the ’822 and ’679 Patents and the application that would

 issue as the ’565 Patent were also brought to the attention of Mr. Tony Werner of Comcast. On

 February 13, 2013, Mr. Werner communicated the patents and applications, for at least a second

 time, to Mr. Finnegan. Shortly thereafter, Messrs. Hennenhoefer and Stine (another of the co-

 inventors) had a teleconference with Mr. Mark Dellinger, Comcast Vice President, Intellectual

 Property Strategy in which the patents and applications were discussed, along with their

 applicability to DOCSIS 3.0.

        32.      Despite Comcast’s knowledge of the Patents and the channel bonding technology

 that they covered, Comcast nevertheless continued making, using and selling products that

 complied with and used DOCSIS 3.0 (and higher) channel bonding, despite an objectively high

 likelihood that such actions constituted infringement of the Patents. This infringement was




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 known to Comcast or was so obvious that Comcast should have known about this infringement.

 Despite knowing that its actions constituted infringement of the Patents and/or despite knowing

 that that there was a high likelihood that its actions constituted infringement of the Patents,

 Comcast nevertheless continued its infringing actions, and continued to make, use and sell

 infringing DOCSIS 3.0 (and higher) products.

         33.     Comcast’s infringement of the ’822, ’679 and ’565 Patents has thus been

 deliberate and willful, at least since February 23, 2012.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff ChanBond, LLC respectfully requests that this Court enter

 judgment in its favor as follows:

         A.      Declaring that defendants have infringed, literally and/or under the doctrine of

 equivalents, at least one claim of each of the ’822, ’679 and ’565 Patents, and that this

 infringement is willful;

         B.      Awarding to Plaintiff the damages to which it is entitled under 35 U.S.C. § 284

 for defendants’ past infringement and any continuing or future infringement, including

 compensatory damages, and the trebling of such damages due to the willful nature of the

 infringement;

         C.      Awarding Plaintiff costs (including all disbursements) and expenses incurred in

 this action;

         D.      Awarding Plaintiff pre- and post-judgment interest on its damages;

         E.      Declaring that this case is exceptional pursuant to 35 U.S.C. §285 and awarding

 Plaintiff its attorneys’ fees and costs; and




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         F.      Awarding Plaintiff such other and further relief in law or in equity as this Court

 deems just and proper.

                                           JURY DEMAND

         Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

 any and all issues so triable by right.

 Dated: September 21, 2015                          BAYARD, P.A.

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                                                    Attorneys for Plaintiff ChanBond, LLC




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                           EXHIBIT B
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         AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                      DistrictDistrict
                                                                 __________    of Delaware
                                                                                       of __________
                               ChanBond, LLC                                              )
                                         Plaintiff                                        )
 Atlantic Broadband Group, LLC, Bright House Networks, LLC, Cable One Inc., Cablevision                                  C.A. Nos.15-842; 15-843; 15-844;
                                             v.
Systems Corp., CSC Holdings, LLC, Cequel Communications, LLC, Cequel Communications       )     Civil Action No.
                                                                                                                         15-845; 15-846; 15-847; 15-848;
Holdings I, LLC d/b/a Suddenlink Communications, Charter Communications, Inc., Comcast    )                              15-849; 15-850; 15-851; 15-852;
    Corp., Comcast Cable Communications, LLC, Cox Communications, Inc., Mediacom
Communications Corp., RCN Telecom Services, LLC, Time Warner Cable Inc., Time Warner      )                              15-853; 15-854 (RGA)
  Cable Enterprises LLC, WaveDivision Holdings, LLC, and WideOpen West Finance, LLC
                                         Defendant                                        )

                                 SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                   OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

         To:                                  UnifiedOnline, Inc., 4126 Leonard Drive, Fairfax, VA 22030
                        c/o John Petrsoric, Michson De Raya New York LLP, 2 Park Avenue, 20th Floor, New York, NY 10016
                                                                 (Name of person to whom this subpoena is directed)

               ✔
               u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
         documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
         material: See Attachment A.



          Place: Winston & Strawn LLP                                                            Date and Time:
                    1700 K Street, N.W.                                                                               05/31/2016 9:00 am
                    Washington, D.C. 20006

              u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
         other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
         may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

          Place:                                                                                Date and Time:



                The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
         Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
         respond to this subpoena and the potential consequences of not doing so.

         Date:        05/17/2016

                                            CLERK OF COURT
                                                                                                     OR
                                                                                                                              /s/ Anup K. Misra
                                                     Signature of Clerk or Deputy Clerk                                        Attorney’s signature


        The name, address, e-mail address, and telephone number of the attorney representing (name of party)
       all defendants                                                           , who issues or requests this subpoena, are:
         Anup K. Misra, Winston & Strawn LLP, 200 Park Avenue, New York, NY 10166; (212) 294-6697, amisra@winston.com

                                        Notice to the person who issues or requests this subpoena
         If this subpoena commands the production of documents, electronically stored information, or tangible things or the
         inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
         it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.        C.A. Nos.15-842; 15-843; 15-844; 15-845; 15-846; 15-847; 15-848; 15-849; 15-850; 15-851; 15-852; 15-853; 15-854
                        (RGA)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                        ATTACHMENT A

                                          DEFINITIONS

        The following definitions are applicable to terms employed in responding to this

 Subpoena Duces Tecum (“Subpoena”) for the production of documents:

        1.      “UnifiedOnline,” “You,” or “Yours” mean UnifiedOnline, Inc., and any and all

 predecessors, successors, divisions, subsidiaries, or joint ventures thereof, together with any and

 all parent or affiliated companies or corporations, and all past or present members, shareholders,

 officers, directors, employees, agents, attorneys, representatives, any past or current investors or

 persons with an interest in UnifiedOnline, Inc., and all other persons acting or purporting to act

 or that have acted or purported to have acted on behalf of any of the foregoing.

        2.      “CBV” means CBV, Inc., and any and all predecessors, successors, divisions,

 subsidiaries, or joint ventures thereof, together with any and all parent or affiliated companies or

 corporations, and all past or present members, shareholders, officers, directors, employees,

 agents, attorneys, representatives, any past or current investors or persons with an interest in

 CBV, Inc., and all other persons acting or purporting to act or that have acted or purported to

 have acted on behalf of any of the foregoing.

        3.      The term “Z-Band” means Z-Band, Inc., and any and all predecessors, successors,

 divisions, subsidiaries, or joint ventures thereof, together with any and all parent or affiliated

 companies or corporations, and all past or present members, shareholders, officers, directors,

 employees, agents, attorneys, representatives, any past or current investors or persons with an

 interest in Z-Band, Inc., and all other persons acting or purporting to act or that have acted or

 purported to have acted on behalf of any of the foregoing.




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        4.      The term “Chanbond,” means ChanBond, LLC, and any and all predecessors,

 successors, divisions, subsidiaries, or joint ventures thereof, together with any and all parent or

 affiliated companies or corporations, including at least CBV and Z-Band, and all past or present

 members, shareholders, officers, directors, employees, agents, attorneys, representatives, any

 past or current investors or persons with an interest in Chanbond, LLC, the Asserted Patents, or

 the Related Patents, including at least UnifiedOnline, and all other persons acting or purporting

 to act or that have acted or purported to have acted on behalf of any of the foregoing.

        5.      The term “Whitaker Corp.” means The Whitaker Corporation, and any and all

 predecessors, successors, divisions, subsidiaries, or joint ventures thereof, together with any and

 all parent or affiliated companies or corporations, and all past or present members, shareholders,

 officers, directors, employees, agents, attorneys, representatives, any past or current investors or

 persons with an interest in The Whitaker Corporation, and all other persons acting or purporting

 to act or that have acted or purported to have acted on behalf of any of the foregoing.

        6.      The terms “Chanbond Patents,” mean U.S. Patent Nos. 7,346,918, 7,941,822,

 8,341,679, 8,984,565, and 9,015,774, including any application that led to issuance of any of the

 aforementioned patents, or any reexaminations thereof.

        7.      The term “Related Patents” means any and all patents that relate back to a

 common application as any Chanbond Patent or Whitaker Patent, including any provisional or

 non-provisional applications, continuations, continuations-in-part, divisions, interferences,

 reexaminations, reissues, parents, foreign counterpart applications, as well as any other

 applications disclosing, describing or claiming any invention disclosed, described or claimed in

 any Chanbond Patent or Whitaker Patent, or claiming the benefit of the filing date of any




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 application whose benefit is claimed in any Chanbond Patent or Whitaker Patent, whether or not

 abandoned and whether or not issued.

        8.      The “Chanbond Inventors” means the named inventors listed on the face of the

 Chanbond Patents. This includes Earl Hennenhoefer, Richard Snyder, Robert Stine.

        9.      “Whitaker Patents” means U.S. Patent No. 5,901,340 and U.S. Patent No.

 5,875,386, including any application that led to issuance of any of the aforementioned patents, or

 any reexaminations thereof.

        10.     “Whitaker Inventors” mean Steven Lee Flickinger, James Ray Fetterolf, Sr.,

 Joseph P. Preschutti, Terry P. Bowen, Jeffrey Legg, and David Koller.

        11.     The term “Instant Litigations” means the litigations initiated by Chanbond

 currently pending in the District of Delaware against each of the Defendants. To resolve any

 doubt, these include case numbers 1:15-cv-00842-RGA through 1:15-cv-00854-RGA.

        12.     The term “Channel Bonding” shall have the same meaning as used by Chanbond

 in Chanbond’s complaints in this matter, and in Chanbond’s infringement contentions in this

 matter. See, e.g., 1:15-cv-00842, D.I. 1 (Complaint) at ¶ 13.

        13.     The “DOCSIS Standard” shall mean the Data Over Cable Service Interface

 Specification published by CableLabs. To resolve any doubt, this term encompasses all versions

 of the DOCSIS Standard, including DOCSIS 1.0, DOCSIS 1.1, DOCSIS 2.0, DOCSIS 3.0, and

 DOCSIS 3.1.

        14.     The “DOCSIS 3.0 Standard” shall mean the Data Over Cable Service Interface

 Specification published by CableLabs

        15.     The term “Standard Setting Organization” means any organization responsible for

 developing technical standards or technical documentation for use in industry. For avoidance of




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 doubt, CableLabs, the Institute for Electrical and Electronics Engineers (“IEEE”),

 Telecommunications Industry Association (“TIA”), and Electronic Industries Alliance (“EIA”)

 are all Standard Setting Organizations.

        16.     The term “Prior Art” refers to art under 35 U.S.C. §§ 102 and 103 and includes,

 by way of example and without limitation, printed publications, patents, disclosures, prior

 inventions, admissions, prior public uses, prior offers for sale, or sales of actual products.

        17.     The terms “concerning,” “relate,” “relating,” or “related” mean in any way,

 directly or indirectly, in whole or part, relating to, concerning, alluding to, referring to,

 discussing, mentioning, regarding, pertaining to, describing, reflecting, containing, analyzing,

 studying, reporting on, commenting on, evidencing, constituting, setting forth, considering,

 recommending, modifying, amending, confirming, endorsing, representing, supporting,

 qualifying, terminating, revoking, refuting, undermining, canceling, contradicting, or negating.

        18.     The term “document” shall have the broadest meaning possible under the Federal

 Rules of Civil Procedure and shall include, but not be limited to, the original (or a copy when the

 original is not available) and each non-identical copy (including those which are non-identical by

 reason of translations, notations, or markings) or any and all other written, printed, typed,

 punched, taped, filmed, or graphic matter or recorded or tangible thing, or whatever description,

 however produced or reproduced (including computer-stored or generated data, together with

 instructions or programs necessary to search and retrieve such data and hard copies where

 available and retrievable), and shall include all attachments to and enclosures with any requested

 item to which they are attached or with which they are enclosed, and each draft thereof. The

 term “document” shall specifically include all recorded or retrievable electronic data or

 communications such as electronic mail (e-mail) and the like and all translations thereof.




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       a.    “Communication” shall mean any oral, written, electronic, or other exchange of

             words, thoughts, information, or ideas to another person or entity, whether in

             person, in a group, by telephone, by letter, by Telex, or by other process, electric,

             electronic, or otherwise.    All such communications in writing shall include,

             without limitation, printed, typed, handwritten, or other readable documents,

             correspondence, memoranda, reports, contracts, drafts (both initial and

             subsequent), computer discs or transmissions, e-mails, instant messages, tape or

             video recordings, voicemails, diaries, log books, minutes, notes, studies, surveys

             and forecasts, and any and all copies thereof.

       b.    The words “or,” “and,” “all,” “every,” “any,” “each,” “one or more,” “including,”

             and similar words of guidance, are intended merely as such, and should not be

             construed as words of limitation. The words “or” and “and” shall include each

             other whenever possible to expand, not restrict, the scope of the request. The

             word “including” shall not be used to limit any general category or description

             that precedes it. The words “all,” “every,” “any,” “each,” and “one or more” shall

             include each other whenever possible to expand, not restrict, the scope of the

             request.

       c.    Reference to the singular in any of these requests shall also include a reference to

             the plural, and reference to the plural also shall include a reference to the singular.




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                                         INSTRUCTIONS

         1.      Unless otherwise stated in a request, the time period covered by the command of

 this Subpoena is October 25, 1994 to Present.

         2.      All requests for “documents,” include a request for any “communications,” such

 as letters or e-mails.

         3.      It is your duty in answering these requests to conduct a reasonable investigation

 so that you disclose and produce all available responsive and non-privileged documents.

         4.      If any request herein requires the production of documents that are no longer in

 your actual or constructive possession, custody, or control or which have been destroyed or lost,

 then in lieu of production, you shall state or identify the title of the document, the author of the

 document, each person to whom or by whom a copy of the original of the document was

 delivered, forwarded, or has been received, the date of the document, and the general subject

 matter of the document. In the event you claim that information contained other than in

 documentary form is no longer in your actual or constructive possession, custody, or control or

 has been destroyed or lost, you shall state or identify the nature of the information, the creator of

 the information, the person to whom the information was or was to be forwarded, delivered or

 for whom it was prepared, the date of the creation of the information, and the manner in which

 the information has been memorialized, if at all.

         5.      In any instance where documents, data, or information requested herein is stored

 on a computer, a computer hard drive, a computer mainframe, computer back-up tape, or in any

 other electronic format, Defendants request that you produce the data, information, or documents

 on CD ROM, computer disk, or in hard copy paper form. Further, Defendants request that you




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 produce all documentation or programs that would allow Defendants to run, read, view, print, or

 otherwise access any such disks, CD ROM, or other computer information.

        6.      You are under a continuing obligation to respond to the requests set forth herein.

 Accordingly, if you subsequently gain actual or constructive possession, custody, or control of

 any document called for in the requests set forth herein that has not been produced to

 Defendants, you must produce such document to Defendants as soon as possible or provide a

 written explanation to Defendants as to why you will not produce the document.

        7.      The documents shall be produced as they are kept in the usual course of business

 or shall be organized and labeled to correspond with the categories in the requests.

                                    DOCUMENT REQUESTS

        1.      All documents or communications regarding the Chanbond Patents, the Whitaker

 Patents, and/or the Related Patents.

        2.      All documents or communications related to the agreement between Chanbond

 and UnifiedOnline, as discussed in the agreement attached as exhibit Ex. 2 to this Subpoena.

        3.      All notes and minutes from UnifiedOnline’s meetings where the agreement

 between Chanbond and Unified Online (attached in Ex. 2 to this Subpoena) was discussed.

        4.      All documents or communications related to any negotiations between

 UnifiedOnline and Chanbond.

        5.      All documents or communications related to any valuation of Chanbond.

        6.      All communications between Unified Online and any of the following parties:

                (i)     Z-Band;

                (ii)    any Chanbond Inventor;

                (iii)   Whitaker Corp.;




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                (iv)     any Whitaker Inventor;

                (v)      C.W. Smith;

                (vi)     any business associate of the Chanbond Inventors that communicated with

                         any Defendant (see, e.g., Ex. 1 at ¶ 28);

                (vii)    any Defendant; or

                (viii)   Bentham IMF.

        7.      All documents related to any negotiations or agreements between UnifiedOnline

 and any of the following parties:

                (i)      Z-Band;

                (ii)     any Chanbond Inventor;

                (iii)    Whitaker Corp.;

                (iv)     any Whitaker Inventor;

                (v)      C.W. Smith.;

                (vi)     any business associate of the Chanbond Inventors that communicated with

                         any Defendant (see, e.g., Ex. 1 at ¶ 28);

                (vii)    any Defendant; or

                (viii)   Bentham IMF.

        8.      All documents and communications related to UnifiedOnline’s decision to

 purchase Chanbond.

        9.      All documents related to any interest held by UnifiedOnline, in either (a) the

 Instant Litigations, (b) the Chanbond Patents, (c) Chanbond, (d) Whitaker, or (e) the Whitaker

 Patents.




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        10.     All documents concerning the acquisition, ownership, or assignment of any

 Chanbond Patent, Whitaker Patent, or any Related Patents.

        11.     All documents related to any valuation of any Chanbond Patent, Whitaker Patent,

 or any Related Patents.

        12.     All documents concerning any agreement related to any Chanbond Patent,

 Whitaker Patent, or any Related Patents.

        13.     All documents concerning any negotiations for any assignment, license, contract,

 covenant, authorization, agreement, stipulation, settlement or any other event relating to any

 legal right related to any Chanbond Patent, Whitaker Patent, or Related Patent.

        14.     All documents concerning participation by UnifiedOnline in any Standard Setting

 Organization, industry organization, or trade group.

        15.     All notes and minutes from UnifiedOnline’s meetings where any of the

 Defendant’s products, services, apparatuses, devices, systems, method or processes related to

 Channel Bonding, the DOCSIS Standard, or DOCSIS 3.0 were mentioned or discussed.

        16.     All documents related to Prior Art to any Chanbond Patents known to

 UnifiedOnline and the date and circumstances pursuant to which UnifiedOnline first learned of

 each piece of Prior Art.

        17.     All documents and communications regarding the corporate or business

 relationship between UnifiedOnline and Chanbond.

        18.     All document and communications regarding Chanbond’s sale, assignment,

 transfer, lease or license of any of their rights, assets, facilities, operations or services to

 UnifiedOnline.




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        19.     All documents reflecting any financial information, including, but not limited to

 revenue or profits, derived from the sale or license of any product embodying any technical

 matter disclosed in, or any invention claimed in, any Chanbond Patent, Whitaker Patent, or

 Related Patent.

        20.     All documents, relating to any of UnifiedOnline’s investigations, tests, studies,

 examinations, or analyses of any Defendant’s products, services, apparatuses, devices, systems,

 methods, or processes that allegedly infringe any claim of the Chanbond Patents, the Whitaker

 Patents, or Related Patents.

        21.     Documents sufficient to identify all current employees of UnifiedOnline and/or

 the organizational structure of Unified Online.

        22.     Documents sufficient to identify all persons or entities with an ownership interest

 in UnifiedOnline.

        23.     All documents related to any agreement entered into by UnifiedOnline regarding

 the financing of UnifiedOnline’s purchase of Chanbond, as discussed in Ex. 2 to this Subpoena.




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                         EXHIBIT 1
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                 )
  CHANBOND, LLC,                                 )
                                                 )
                 Plaintiff,                      )
                                                 )
         v.                                      )     C.A. No. ___________________
                                                 )
  COMCAST CORPORATION and                        )     TRIAL BY JURY DEMANDED
  COMCAST CABLE                                  )
  COMMUNICATIONS, LLC,                           )
                                                 )
                  Defendants.                    )
                                                 )

                        COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff ChanBond, LLC (“ChanBond”), as for its complaint of patent infringement in

 this matter, hereby alleges through its attorneys as follows:

                                        Nature of the Action

        This is an action for patent infringement of United States Patent Nos. 7,941,822 (the

 “’822 Patent”), 8,341,679 (the “’679 Patent”) and 8,984,565 (the “’565 Patent”) (collectively, the

 Patents) under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., seeking damages and

 injunctive and other relief under 35 U.S.C. § 281, et seq.

                                             The Parties

        1.      Plaintiff ChanBond is a Delaware limited liability company with its principal

 place of business at 2633 McKinney Ave., Dallas, Texas 75204.

        2.      Defendant Comcast Corporation (“Comcast Corp.”) is a Pennsylvania corporation

 with its principal place of business at 1701 John F Kennedy Boulevard, Philadelphia,

 Pennsylvania 19103. Comcast Corp. may be served with process pursuant to the Delaware long

 arm statute, 10 Del. C. § 3104.
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        3.      Defendant Comcast Cable Communications, LLC (“Comcast Cable”) is a

 Delaware limited liability company with its principal place of business at 1701 John F Kennedy

 Boulevard, Philadelphia, Pennsylvania 19103. On information and belief, Comcast Cable is a

 wholly owned, direct or indirect subsidiary of Comcast Corp. Comcast Cable may be served

 with process via its registered agent, Comcast Capital Corporation, 1201 North Market Street,

 Suite 1000, Wilmington, Delaware 19801.

        4.      Comcast Corp. and Comcast Cable are referred to herein, collectively, as

 “Comcast” or “defendants.”

                                       Jurisdiction and Venue

        5.      This is an action for patent infringement arising under the Patent Laws of the

 United States, Title 35 of the United States Code.

        6.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

 §§ 1331 and 1338(a) because the action concerns the infringement of United States patents.

        7.      This court has personal jurisdiction over defendants. Upon information and

 belief, each defendant transacts substantial business in the State of Delaware, directly or through

 intermediaries, including: (i) at least a portion of the infringements alleged herein, and (ii)

 regularly does or solicits business in Delaware, engages in other persistent courses of conduct,

 maintains continuous and systematic contacts in Delaware, purposefully avails itself of the

 privileges of doing business in Delaware, and/or derives substantial revenue from goods and

 services provided to individuals in Delaware. In addition, Comcast Cable is a limited liability

 corporation organized and existing under the laws of the State of Delaware.




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        8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b) because,

 among other reasons, defendants have transacted business in the State of Delaware and

 defendants have committed and continue to commit acts of patent infringement in Delaware.

                                        The Patents-In-Suit

        9.      On May 10, 2011, the United States Patent and Trademark Office duly and legally

 issued the ’822 Patent, entitled “Intelligent Device System and Method for Distribution of Digital

 Signals on a Wideband Signal Distribution System,” to its inventors, Earl Hennenhoefer, Richard

 Snyder and Robert Stine. The inventors assigned all rights in the ’822 Patent to CBV, Inc.

 (“CBV”), which was founded by the inventors, and CBV assigned the ’822 Patent to ChanBond,

 including all rights to enforce the ’822 Patent and to recover for infringement. ChanBond has all

 right, title and interest to the ’822 Patent. The ’822 Patent is valid and in force. A true and

 correct copy of the ’822 Patent is attached hereto as Exhibit A.

        10.     On December 25, 2012, the United States Patent and Trademark Office duly and

 legally issued the ’679 Patent, entitled “Intelligent Device System and Method for Distribution of

 Digital Signals on a Wideband Signal Distribution System,” to its inventors, Earl Hennenhoefer,

 Richard Snyder and Robert Stine. The inventors assigned all rights in the ’679 Patent to CBV,

 which was founded by the inventors, and CBV assigned the ’679 Patent to ChanBond, including

 all rights to enforce the ’679 Patent and to recover for infringement. ChanBond has all right, title

 and interest to the ’679 Patent. The ’679 Patent is valid and in force. A true and correct copy of

 the ’679 Patent is attached hereto as Exhibit B.

        11.     On March 17, 2015, the United States Patent and Trademark Office duly and

 legally issued the ’565 Patent, entitled “Intelligent Device System and Method for Distribution of

 Digital Signals on a Wideband Signal Distribution System,” to its inventors, Earl Hennenhoefer,




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 Richard Snyder and Robert Stine. The inventors assigned all rights in the ’565 Patent to CBV,

 which was founded by the inventors, and CBV assigned the ’565 Patent to ChanBond, including

 all rights to enforce the ’565 Patent and to recover for infringement. ChanBond has all right, title

 and interest to the ’565 Patent. The ’565 Patent is valid and in force. A true and correct copy of

 the ’565 Patent is attached hereto as Exhibit C.

         12.     Generally, the patents-in-suit are directed in improving the data transmission of

 wideband distribution systems. Historically, data service flows (e.g. data, web traffic, voice and

 video transmitted via the Internet Protocol) have been transmitted over a single channel at a fixed

 bandwidth. But with the demand for transmission of more and more content at ever increasing

 speeds, the capabilities of a single channel transmission methodology became exhausted.

         13.     The patents-in-suit address and overcome, among other things, the throughput

 problems regarding this single channel methodology. The inventors of the patents-in-suit

 invented intelligent devices that allow a single data service flow (e.g. large data transmissions) to

 be split and modulated onto multiple channels for transmission. This transmission is then

 demodulated and recombined back into a single service flow for distribution to addressable

 devices. Using the inventions, service providers are now capable of efficiently transmitting more

 content at higher speeds and better quality of service.

                                       COUNT I
                           (INFRINGEMENT OF THE ’822 PATENT)

         14.     Plaintiff incorporates paragraphs 1 through 13 herein by reference as if set forth

 here in full.

         15.     Upon information and belief, Comcast has been and is currently directly

 infringing, literally or under the doctrine of equivalents, one or more claims of the ’822 Patent by

 making, using, testing, offering to sell, and/or selling within the United States, and/or importing



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 into the United States, without authority, cable systems and cable services that are covered by at

 least one claim of the ’822 Patent. The accused cable systems include cable system components

 such as cable modem termination systems, RF transmission hardware, network monitoring

 equipment and customer premises equipment (e.g., cable modems, embedded multimedia

 terminal adapters, and set-top boxes), including but not limited to components that are compliant

 with the Data Over Cable System Interface Specification (“DOCSIS”) standard, version 3.0 or

 higher.1 More particularly, Comcast, without authority from Plaintiff, provides, operates,

 implements, sells, markets, imports and/or offers for sale cable systems and/or cable services that

 perform, are capable of performing or are provided having channel bonding functionality,

 including but not limited to cable systems and components that have the capability to distribute a

 service flow over multiple, bonded channels and/or the capability to receive a service flow over

 multiple, bonded channels (the “Accused Functionality”). Comcast’s cable systems and

 components that perform or are capable of performing the Accused Functionality, and/or the use

 of such cable systems and components, infringe one or more claims of the ’822 Patent under 35

 U.S.C. § 271.

        16.      As a result of Comcast’s unlawful infringement of the ’822 Patent, Plaintiff has

 suffered and will continue to suffer damages in an amount to be proven at trial. Plaintiff is

 entitled to recover from Comcast the damages adequate to compensate for such infringement,

 which have yet to be determined.

        17.      Comcast will continue to infringe the ’822 Patent unless and until it is enjoined by

 this Court.


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  See, e.g., http://customer.xfinity.com/help-and-support/internet/docsis3/?ts=2 (“With DOCSIS
 3.0, you’ll experience significantly faster speeds, so you can make the most of your online
 experience. DOCSIS 3.0 also opens the door to new Internet technologies.”)


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                                      COUNT II
                           (INFRINGEMENT OF THE ’679 PATENT)

         18.     Plaintiff incorporates paragraphs 1 through 17 herein by reference as if set forth

 here in full.

         19.     Upon information and belief, Comcast has been and is currently directly

 infringing, literally or under the doctrine of equivalents, one or more claims of the ’679 Patent by

 making, using, testing, offering to sell, and/or selling within the United States, and/or importing

 into the United States, without authority, cable systems and cable services that are covered by at

 least one claim of the ’679 Patent. The accused cable systems include cable system components

 such as cable modem termination systems, RF transmission hardware, network monitoring

 equipment and customer premises equipment (e.g., cable modems, embedded multimedia

 terminal adapters, and set-top boxes), including but not limited to components that are compliant

 with the DOCSIS standard, version 3.0 or higher. More particularly, Comcast, without authority

 from Plaintiff, provides, operates, implements, sells, markets, imports and/or offers for sale cable

 systems and/or cable services that perform, are capable of performing or are provided having

 channel bonding functionality, including but not limited to cable systems and components that

 have the capability to distribute a service flow over multiple, bonded channels and/or the

 capability to receive a service flow over multiple, bonded channels (the “Accused

 Functionality”). Comcast’s cable systems and components that perform or are capable of

 performing the Accused Functionality, and/or the use of such cable systems and components,

 infringe one or more claims of the ’679 Patent under 35 U.S.C. § 271.

         20.     As a result of Comcast’s unlawful infringement of the ’679 Patent, Plaintiff has

 suffered and will continue to suffer damages in an amount to be proven at trial. Plaintiff is




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 entitled to recover from Comcast the damages adequate to compensate for such infringement,

 which have yet to be determined.

         21.     Comcast will continue to infringe the ’679 Patent unless and until it is enjoined by

 this Court.

                                      COUNT III
                           (INFRINGEMENT OF THE ’565 PATENT)

         22.     Plaintiff incorporates paragraphs 1 through 21 herein by reference as if set forth

 here in full.

         23.     Upon information and belief, Comcast has been and is currently directly

 infringing, literally or under the doctrine of equivalents, one or more claims of the ’565 Patent by

 making, using, testing, offering to sell, and/or selling within the United States, and/or importing

 into the United States, without authority, cable systems and cable services that are covered by at

 least one claim of the ’565 Patent. The accused cable systems include cable system components

 such as cable modem termination systems, RF transmission hardware, network monitoring

 equipment and customer premises equipment (e.g., cable modems, embedded multimedia

 terminal adapters, and set-top boxes), including but not limited to components that are compliant

 with the DOCSIS standard, version 3.0 or higher. More particularly, Comcast, without authority

 from Plaintiff, provides, operates, implements, sells, markets, imports and/or offers for sale cable

 systems and/or cable services that perform, are capable of performing or are provided having

 channel bonding functionality, including but not limited to cable systems and components that

 have the capability to distribute a service flow over multiple, bonded channels and/or the

 capability to receive a service flow over multiple, bonded channels (the “Accused

 Functionality”). Comcast’s cable systems and components that perform or are capable of




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 performing the Accused Functionality, and/or the use of such cable systems and components,

 infringe one or more claims of the ’565 Patent under 35 U.S.C. § 271.

         24.      As a result of Comcast’s unlawful infringement of the ’565 Patent, Plaintiff has

 suffered and will continue to suffer damages in an amount to be proven at trial. Plaintiff is

 entitled to recover from Comcast the damages adequate to compensate for such infringement,

 which have yet to be determined.

         25.      Comcast will continue to infringe the ’565 Patent unless and until it is enjoined by

 this Court.

               WILLFUL INFRINGEMENT OF THE ’822, ’679, and ’565 PATENTS

         26.      Plaintiff incorporates paragraphs 1 through 25 herein by reference as if set forth

 here in full.

         27.      In January 2012, Comcast announced that it had completed its rollout of DOCSIS

 3.0.

         28.      In February 2012, a business associate of the inventors communicated with Mr.

 Joseph DiTrolio, Comcast Vice President and Corporate Comptroller, regarding the patent

 portfolio. On February 23, 2012, the business associate had a face-to-face meeting with Mr.

 DiTrolio, wherein he provided a write-up that identified the ’822 Patent and the application that

 would issue as the ’679 Patent, and that indicated other continuations were pending. The write-

 up described the patents and applications and their applicability to DOCSIS 3.0 and the cable

 industry’s channel bonding technology. The business associate and Mr. DiTrolio discussed the

 patents, patent applications, relevant technology, and the patents’ and patent applications’

 applicability to the cable industry’s channel bonding technology. By February 23, 2012, Mr.

 DiTrolio, and thus Comcast, knew of the at least the ’822 Patent and the application that would




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 issue as the ’679 Patent, and knew of their relevance to the DOCSIS 3.0 channel bonding

 technology used by Comcast.

        29.      By February 27, 2012, Mr. DiTrolio had communicated the patent portfolio and

 the write-up to Mr. James Finnegan, Comcast Senior Vice President, Intellectual Property

 Strategy. On information and belief, by February 27, 2012, Mr. Finnegan knew of the ’822

 Patent and the applications that would issue as the ’679 and ’565 Patents, and knew of their

 relevance to the DOCSIS 3.0 channel bonding technology used by Comcast.

        30.      On March 28, 2012, Mr. Hennenhoefer (one of the co-inventors) had a

 teleconference with Mr. Finnegan during which the patents, applications and CBV were

 discussed. Mr. Finnegan informed Mr. Hennenhoefer that Comcast was obtaining a legal

 opinion regarding the patents. Shortly thereafter, Mr. Hennenhoefer had a follow-up call with

 Mr. Finnegan.

        31.      On February 12, 2013, the ’822 and ’679 Patents and the application that would

 issue as the ’565 Patent were also brought to the attention of Mr. Tony Werner of Comcast. On

 February 13, 2013, Mr. Werner communicated the patents and applications, for at least a second

 time, to Mr. Finnegan. Shortly thereafter, Messrs. Hennenhoefer and Stine (another of the co-

 inventors) had a teleconference with Mr. Mark Dellinger, Comcast Vice President, Intellectual

 Property Strategy in which the patents and applications were discussed, along with their

 applicability to DOCSIS 3.0.

        32.      Despite Comcast’s knowledge of the Patents and the channel bonding technology

 that they covered, Comcast nevertheless continued making, using and selling products that

 complied with and used DOCSIS 3.0 (and higher) channel bonding, despite an objectively high

 likelihood that such actions constituted infringement of the Patents. This infringement was




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 known to Comcast or was so obvious that Comcast should have known about this infringement.

 Despite knowing that its actions constituted infringement of the Patents and/or despite knowing

 that that there was a high likelihood that its actions constituted infringement of the Patents,

 Comcast nevertheless continued its infringing actions, and continued to make, use and sell

 infringing DOCSIS 3.0 (and higher) products.

         33.     Comcast’s infringement of the ’822, ’679 and ’565 Patents has thus been

 deliberate and willful, at least since February 23, 2012.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff ChanBond, LLC respectfully requests that this Court enter

 judgment in its favor as follows:

         A.      Declaring that defendants have infringed, literally and/or under the doctrine of

 equivalents, at least one claim of each of the ’822, ’679 and ’565 Patents, and that this

 infringement is willful;

         B.      Awarding to Plaintiff the damages to which it is entitled under 35 U.S.C. § 284

 for defendants’ past infringement and any continuing or future infringement, including

 compensatory damages, and the trebling of such damages due to the willful nature of the

 infringement;

         C.      Awarding Plaintiff costs (including all disbursements) and expenses incurred in

 this action;

         D.      Awarding Plaintiff pre- and post-judgment interest on its damages;

         E.      Declaring that this case is exceptional pursuant to 35 U.S.C. §285 and awarding

 Plaintiff its attorneys’ fees and costs; and




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         F.      Awarding Plaintiff such other and further relief in law or in equity as this Court

 deems just and proper.

                                           JURY DEMAND

         Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

 any and all issues so triable by right.

 Dated: September 21, 2015                          BAYARD, P.A.

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